STEVEN C. BABCOCK
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       Attorney for Defendant




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 UNITED STATES OF AMERICA,                     Case No. CR-18-155-BLG-DLC

                 Plaintiff,

 vs.                                           MOTION TO CHANGE PLEA

 JAMES ERIC “DOC” JENSEN, JR.,
               Defendant.

       COMES NOW, Defendant JAMES ERIC “DOC” JENSEN, JR., by and

through his Counsel of record, Steven C. Babcock, Assistant Federal Defender, and

the Federal Defenders of Montana, hereby moves this Court to allow him to enter a

plea of guilty to the Indictment, without a written plea agreement.



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      This motion certifies that all parties to the case have been informed of the

defendant’s intent to plead guilty.

      RESPECTFULLY SUBMITTED this 7th day of February, 2019.


                                      /s/ Steven C. Babcock
                                      STEVEN C. BABCOCK
                                      Federal Defenders of Montana
                                             Counsel for Defendant




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                               CERTIFICATE OF SERVICE
                                      L.R. 5.2(b)

      I hereby certify that on February 7, 2019, a copy of the foregoing document
was served on the following persons by the following means:

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1.          CLERK, UNITED STATES DISTRICT COURT

2.          BRYAN DAKE
            Assistant United States Attorney
            United States Attorney’s Office
            2601 2nd Avenue North, Suite 3200
            Billings, MT 59101
                   Counsel for the United States

3.          JAMES ERIC “DOC” JENSEN
                Defendant

                                            /s/ Steven C. Babcock
                                            STEVEN C. BABCOCK
                                            Federal Defenders of Montana
                                                   Counsel for Defendant




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